           Case 1:21-cr-00453-JDB Document 89 Filed 03/03/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
v.                                            :         No. 21-CR-453 (JDB)
                                              :
SEAN MICHAEL MCHUGH,                          :
                                              :
     Defendant.                               :


                                 CERTIFICATE OF SERVICE


         I hereby certify that a true and accurate copy of the United States of America’s Rule

404(b) Notice was served upon the following by sending same by first class U.S. mail and by

email on March 3, 2023, to:

         Joseph W. Allen
         1015 W. State Hwy. 248 Ste. I
         Branson, MO 65616

         Email: joe@mybransonattorney.com, josh@mybransonattorney.com

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052


                                       By:    /s/ Lynnett M. Wagner____
                                              LYNNETT M. WAGNER
                                              Nebraska Bar No. 21606
                                              Assistant U.S. Attorney
                                              555 4th Street, N.W.
                                              Washington, D.C. 20530
                                              Tel: (402) 661-3700
                                              Fax: (402) 661-3081
                                              E-mail:lynnett.m.wagner@usdoj.gov




                                                  1
